                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA

                                 EASTERN DIVISION

                                       NO. 4:18-CV-106

DEVONWOOD-LOCH LOMOND LAKE                                 )
ASSOCIATION, INC., a North Carolina non-profit             )
corporation, ARRAN LAKE HOMEOWNERS ASS’N.                  )
 INC., a North Carolina non-profit corporation,            )
RAYCONDA HOMEOWNERS ASS’N, INC., a North                   )
Carolina non-profit corporation, STRICKLAND BRIDGE         )
ROAD HOMEOWNERS ASS’N, INC., a North Carolina              )              COMPLAINT
non-profit corporation, JOHN C. LEE and wife               )
CATHERINE A. LEE, individuals, MARTIN YOUNG                )
and wife ANN YOUNG, individuals, GERALD L.                 )
ELLISON and wife J.F. DUNN ELLISON, and DANA E.            )
PIKE, and wife, DIANNA M. PIKE, individuals,               )
                                                           )
       Plaintiffs,                                         )
                                                           )
       vs.                                                 )
                                                           )
CITY OF FAYETTEVILLE, a municipality                       )
formed and maintained under the laws of the State          )
of North Carolina, and CITY OF FAYETTEVILLE                )
PUBLIC WORKS COMMISSION, a North                           )
Carolina Public Authority,                                 )
                                                           )
       Defendants.                                         )
                                                           )

       The Plaintiffs, through undersigned counsel, complaining of the Defendants, state and

allege as follows:

                                     INTRODUCTION

       In 1995, The City of Fayetteville and unincorporated areas of Cumberland County

established and implemented a stormwater utility to provide a mechanism to access funds

required to meet the federal National Pollutant Discharge and Elimination System (NPDES)

mandate arising out of the 1987 Clear Water Act. In 2001, the City of Fayetteville recognized




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the City’s growing stormwater infrastructure needs typically inherent to an urbanized area and

made an ostensible commitment for future funding. In 2007, the City of Fayetteville imposed an

additional stormwater “drainage” fee, assessing all developed properties (residential/non-

residential) located within the City limits of Fayetteville. The City of Fayetteville also

established by enactment of the General Assembly of North Carolina a Public Works

Commission to manage operate, inspect, supervise and upgrade the electric, water and waste

water utilities of the City of Fayetteville.

        Prior to 2007, in fact as early as 1988, at the request of the Defendants, the Plaintiffs

commenced granting to the City of Fayetteville utility easements and rights of way. The

easements were for, among other items, water, sewer and stormwater systems as more fully

described infra.

        However, upon information and belief, since at least 2007, the City of Fayetteville and its

Public Works Commission have failed to properly manage, implement or allocate the funds

collected from the stormwater “drainage” fee to properly or reasonably manage, operate, inspect,

supervise and upgrade the stormwater resources including, but not limited to, The City of

Fayetteville’s easements and installations thereon which unfairly encumber the Plaintiffs’

property as more fully described infra.

        All of the Plaintiffs’ property are located within the Cape Fear River Basin, and are a part

of the Little Rockfish Watershed. The Defendants possessed knowledge that at all relevant times

that the Plaintiffs’ property, comprised of lots, lakes and dams, were located within the Little

Rockfish Watershed and within the City of Fayetteville.

        The Defendants further possessed direct knowledge that virtually all stormwater in the

Little Rockfish Watershed was not travelling solely into public use property. In fact, the



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Defendants possessed direct knowledge that virtually all stormwater within the Little Rockfish

Watershed was being directed onto and stored on the Plaintiffs’ property, causing the Plaintiffs’

property to be damaged and causing private lakes to be filled to unsafe levels with water, debris

and sediment. Moreover, the Defendants possessed direct knowledge but ignored the cumulative

effect of the increasing amount of stormwater runoff that the Defendants were directing over and

into the Plaintiffs’ property as a direct consequence of the Defendants’ sanctioning and

permitting continued growth.

       The Defendants had and continue to have a duty to the Plaintiffs by virtue of the

applicable governing City of Fayetteville ordinances, the easements granted to the Defendants

providing the Defendants access to the Plaintiffs’ property, and the use of the Plaintiffs’ private

property for a public purpose. The Defendants have and had a duty to otherwise protect,

maintain and inspect the Plaintiffs’ property to determine and take appropriate measures to

ensure that the Plaintiffs’ property could adequately capture and safely sustain the stormwater

runoff cumulatively created within the Little Rockfish Watershed. The Defendants have

breached their duty to the Plaintiffs, causing the Plaintiffs to suffer damage to (i) their land,

dams, and homes as well as (ii) present and future diminution of value to their property.

       The City of Fayetteville and PWC have maintained control over the Plaintiffs’ property

through the extensive number of easements issued to the City and other elements of control

described herein. The City of Fayetteville possesses what amounts to de facto absolute control

over the Plaintiffs’ property regarding the stormwater runoff which flows into and out of the

Plaintiffs’ property, some of which is stored on the Plaintiffs’ property. The City of Fayetteville

and its Public Works Commission has usurped control and ownership over the Plaintiffs’ private




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property while failing to compensate the Plaintiffs for the use and benefit of the Plaintiffs’

property as constitutionally required.

       The City of Fayetteville’s rights provided by the easements and rights of ways described

herein has caused the City directly and indirectly to become a beneficiary of all of the value

associated with the Plaintiffs’ property. The City of Fayetteville and its Public Works

Commission has willfully and intentionally ignored the cumulative impact on the Plaintiffs’

property as a result of the City’s failure to comply with its own stormwater policies and manual

setting forth the City’s procedure for managing stormwater. The City of Fayetteville and its

Public Works Commission has exercised a total lack of oversight pertaining generally to the

cumulative effect of stormwater runoff in the City and specifically with respect to the treatment

of the Plaintiffs’ property, thereby causing the damages to the Plaintiffs property as further

described herein.

                               The Homeowner Association Plaintiffs

       1.      Plaintiff Devonwood-Loch Lomond Lake Association, Inc. (also referred to

herein as “Devonwood”) is a non-profit corporation formed and maintained under the laws of the

State of North Carolina. Devonwood is a Homeowners Association that was formed under North

Carolina law on October 16, 1979.

       2.      Plaintiff Arran Lake Homeowners Association, Inc. (also referred to herein as

“Arran Lake”) is a non-profit corporation formed and maintained under the laws of the State of

North Carolina. Arran Lake is a Homeowners Association that was formed under North

Carolina law on March 3, 1975.

       3.      Plaintiff Rayconda Homeowners Association, Inc. (also referred to herein as

“Rayconda”) is a non-profit corporation formed and maintained under the laws of the State of



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North Carolina. Rayconda is a Homeowners Association that was formed under North Carolina

law on April 21, 1995.

       4.     Plaintiff Strickland Bridge Road Homeowners Association, Inc. (also referred to

herein as “Strickland Bridge”) is a non-profit corporation formed and maintained under the laws

of the State of North Carolina. Strickland Bridge is a Homeowners Association that was formed

under North Carolina law on February 9, 1989.

       5.     The Homeowner Association Plaintiffs are collectively referred to herein as the

“Homeowner’s Associations Plaintiffs”.

     The Individual Plaintiffs who are Members of the Homeowner Association Plaintiffs

       6.     Plaintiff John C. Lee and wife Catherine A. Lee (“Plaintiff Lee”) is a citizen and

resident of Cumberland County, North Carolina. Plaintiff Lee is the legal owner of a single

family residence described as 313 Reid Court, Fayetteville, North Carolina, 28314, PIN# 9498-

81-5622. Plaintiff Lee is a member of the Plaintiff Devonwood.

       7.     Plaintiff Martin J. Young and wife Ann Young (“Plaintiff Young”) is a citizen

and resident of Cumberland County, North Carolina. Plaintiff Young is the legal owner of three

single family residences described as 1448 Paisley Avenue, Fayetteville, North Carolina, 28304,

PIN# 0406-57-2061, 1452 Paisley Avenue, Fayetteville, North Carolina, 28304, PIN# 0406-56-

3942 and 6209 Gambrills Court, Fayetteville, North Carolina, 28304, PIN#0406-56-1557.

Plaintiff Young is a member of the Plaintiff Arran Lake.

       8.     Plaintiff Gerald L. Ellison and wife Naomoa Ellison (“Plaintiff Ellison”) is a

citizen and resident of Cumberland County, North Carolina. Plaintiff Ellison is the legal owner

of a single family residence described as 2000 Galax Drive, Fayetteville, North Carolina, 28304,

PIN #9496-35-1325. Plaintiff Ellison is a member of the Plaintiff Rayconda.



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        9.       Plaintiff Dana E. Pike and wife Nancy P. Pike (“Plaintiff Pike”) is a resident of

Cumberland County, North Carolina. Plaintiff Pike is the legal owner of a single family

residence described as 2664 Strickland Bridge Dundle Road, Fayetteville, North Carolina,

28306, PIN #9495-28-4513. Plaintiff Belcher is a member of the Plaintiff Strickland Bridge.

        10.      The Individual Plaintiffs are collectively referred to herein as the “Individual

Plaintiffs”.

        11.      The Homeowner Association Plaintiffs and the Individual Plaintiffs are

collectively referred to herein as “the Plaintiffs”.

                                          The Defendants

        12.      The Defendant City of Fayetteville (also referred to herein as the “City” and

“Defendant”) is a municipality formed and maintained under the laws of the State of North

Carolina.

        13.      The Defendant City of Fayetteville Public Works Commission (also referred to

herein as the “City of Fayetteville PWC” or “PWC”) was created in 1905 through an act of North

Carolina General Assembly to manage, operate and supervise the electric, water, and wastewater

utilities of the City of Fayetteville. The City of Fayetteville PWC is defined by the North

Carolina legislature as a Public Authority in its operation, control, and management of its

systems and is subject to the Local Government Budget and Fiscal Control Act as a Public

Authority.

        14.      The City and PWC are also collectively referred to herein as the Defendants.

        15.      The City of Fayetteville has assigned its all of its rights and obligations regarding

the management of infrastructure with respect to power and water within the city limits of the

City of Fayetteville to the PWC.



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                                     Jurisdiction and Venue

       16.      Subject matter jurisdiction over this cause is conferred upon and vested in this

Court under and by virtue of 28 U.S.C. § 1331 insomuch that this action involves a federal

question under 42 U.S.C. § 1983 as more fully set out herein.

                                       History, Facts and Events

       17.      The City has used the Plaintiffs’ property as drainage fields and drainage

conveyances for the City’s roads and highways to excessively move and store stormwater

without the Plaintiffs’ permission or consent and without any or adequate compensation.

       18.      The stormwater runoff which accumulates in the City of Fayetteville has been

artificially channeled by the Defendants through acts and omissions by the Defendants over and

onto the Plaintiffs’ property throughout the course of at least thirty (30) years. Throughout this

period of continued growth the City of Fayetteville has disregarded the cumulative impact of this

growth while the Plaintiffs have suffered the consequences of this action.

       19.      The Defendants have failed to provide the Plaintiffs with any or adequate

consideration for the continued use of the Plaintiffs’ property and the subject easements.

       20.      The existing City of Fayetteville stormwater drainage system is undersized,

antiquated and, in fact, decrepit. The Defendants have used the Plaintiffs’ property in a manner

that is not a natural water course designed to accommodate the cumulative impact of the

population growth within the City of Fayetteville and the resulting increased amount of

stormwater runoff which has accumulated and continues to accumulate within the City of

Fayetteville.

       21.      At present, stormwater drainage in the City of Fayetteville flows over and is

stored on the Plaintiffs’ private property. Additionally, the stormwater drainage has and



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continues to damage the Plaintiffs’ private property. It is incumbent for the City to properly

manage the stormwater causing continuous damage to the Plaintiffs’ property and to compensate

the Plaintiffs for damages caused to the Plaintiffs’ property. Nowhere in any of the easements

granted to Defendants by Plaintiffs are they allowed to misuse or cause damages to Plaintiffs

property, which has and is occurring on a regular and cumulative basis.

       22.     The Plaintiffs are entitled to the recovery of the cost of the repair of the damages

to the dams and the resulting lakes that were destroyed.

       23.     The Plaintiffs are further entitled to a judgment in the amount of financial

damages incurred as a result of the diminution of value of the Plaintiffs’ property.

       24.     The Defendants, as a consequence of their superior bargaining position over the

Plaintiffs, were able to obtain the easements and other rights of way to the Plaintiffs’ property for

virtually no consideration. If the Defendants had not utilized their superior bargaining position

to obtain the subject record easements and rights of ways, the Defendants would have been

forced to engage the legislative process promulgated for condemnation actions to effect a lawful

taking of the Plaintiff’s property. Regardless of the imbalance in bargaining power used by the

city, at no time have Plaintiffs granted Defendants the right to misuse, degrade, and destroy

Plaintiffs’ property and the easements do not allow such misuse and consequential damages that

have occurred and continue to this day.

                       The History and Circumstances of Devonwood

       25.     On October 16, 1979, Plaintiff Devonwood was formed under the laws of the

State of North Carolina by the filing of Articles of Incorporation with the office of the North

Carolina Secretary of State.




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       26.     On December 26, 1979, a property developer, Barrett and Chadwick Developers,

Inc. granted Plaintiff Devonwood the property which comprises the Devonwood-Loch Lomond

Lake that is the subject of Plaintiff Devonwood’s claims asserted herein. The subject deed is

recorded in Book 2768, Page 765, Cumberland County Registry, and is incorporated herein by

reference.

       27.     On December 5, 1988, Plaintiff Devonwood granted to Defendant City of

Fayetteville a Utility Easement (Water & Sanitary Sewer) over and through Devonwood property

including the Deveonwood dam which is the subject of this case and the same dam which was

breached. The Utility Easement is recorded in Book 3440, Page 596, Cumberland County

Registry, and is incorporated herein by reference.

       28.     On November 7, 1988, a member of the Plaintiff Devonwood who owns property

adjacent to the Devonwood Lake granted to the Defendant City of Fayetteville a Utility

Easement (PWC Easement No. 10342) over and through the individual’s property, permitting the

City to drain stormwater into the Devonwood Lake. The Utility Easement is recorded in Book

3433, Page 745, Cumberland County Registry.

       29.     On April 11, 1991, Montclair Water Company granted to Defendant City of

Fayetteville a number of easements over and through the Devonwood property, including the

Devonwood lake and dam. The Deed of Easements is recorded in Book 3695, Page 409,

Cumberland County Registry, and is incorporated herein by reference. Defendant PWC acquired

these easements from Montclair Water Company including the utility pipes and lines that run

through the Devonwood dam. At the time the utility pipes and lines were installed in the

Devonwood dam, they were installed with inadequate soil and through a method that does not




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meet industry standards. Since the Devonwood dam was breached, PWC’s pipes and lines have

been broken and remain exposed on Plaintiff Devonwood’s property.

       30.      On January 20, 1995, Plaintiff Devonwood granted a Utility Easement to

Defendant City of Fayetteville which is recorded in Book 4267, Page 0215, Cumberland County

Registry, and is incorporated herein by reference.

       31.      On February 23, 2007, Plaintiff Devonwood granted to Defendant City of

Fayetteville a Surface Water Drainage Easement Agreement which is recorded in Book 7522,

Page 01, Cumberland County Registry, and is incorporated herein by reference.

       32.      On March 30, 2007, a member of the Plaintiff Devonwood who owns property

adjacent to the Devonwood Lake granted to the Defendant City of Fayetteville a Utility

Easement (PWC Easement No. 16503) over and through the individual’s property, permitting the

City and PWC to install a sanitary sewer line and pipe through the individual’s property and into

the Devonwood Lake. The Utility Easement is recorded in Book 7544, Page 751, Cumberland

County Registry.

                          The History and Circumstances of Arran Lake

       33.      On March 3, 1975, Plaintiff Arran Lake was formed under the laws of the State of

North Carolina by the filing of Articles of Incorporation with the office of the North Carolina

Secretary of State.

       34.      On December 18, 1975, a property developer Arran Development, Inc. granted

Plaintiff Arran Lake the property which comprises the Arran Lake that is the subject of Plaintiff

Arran Lake’s claims asserted herein. The subject quit claim deed is recorded in Book 2526, Page

256, Cumberland County Registry.




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       35.      On March 3, 1997, a member of the Plaintiff Arran Lake who owns property

adjacent to the Arran Lake granted to the City of Fayetteville a Utility Easement (PWC

Easement No. 12847) over and through the individual’s property and adjacent to the Arran Lake.

The Utility Easement is recorded in Book 4622, Page 379, Cumberland County Registry.

       36.      On March 14, 1997, Plaintiff Arran Lake granted to Defendant City of

Fayetteville a Utility Easement (Water & Sanitary Sewer) which is recorded in Book 4628, Page

676, Cumberland County Registry.

       37.      On December 23, 1997, Plaintiff Arran Lake granted to City of Fayetteville a

Utility Easement (Water and Sanitary Sewer) (PWC Easement No. 13321) which is recorded in

Book 4782, Page 186, Cumberland County Registry.

       38.      On January 24, 1997, a member of the Plaintiff Arran Lake who owns property

adjacent to the Arran Lake granted to the City of Fayetteville a Utility Easement (PWC

Easement No. 12783) over and through the individual’s property and adjacent to the Arran Lake.

The Utility Easement is recorded in Book 4605, Page 288, Cumberland County Registry.

       39.      On June 3, 1997, Plaintiff Arran Lake granted to Defendant City of Fayetteville a

Utility Easement (Water & Sanitary Sewer) (PWC Easement 12876) which is recorded in Book

4672, Page 410, Cumberland County Registry.

       40.      On December 23, 1997, Plaintiff Arran Lake granted to Defendant City of

Fayetteville a Utility Easement (Water & Sanitary Sewer) (PWC Easement No. 12876) which is

recorded in Book 4682, Page 186, Cumberland County Registry.

       41.      On February 23, 1998, Plaintiff Arran Lake granted to Defendant City of

Fayetteville a Utility Easement (Water & Sanitary Sewer) (PWC Easement No. 13372) which is

recorded in Book 4812, Page 810, Cumberland County Registry.



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        42.     Historically, the City of Fayetteville’s fire department has utilized the water from

the lake owned by Plaintiff Arran Lake, prior to the date the lake was destroyed.

                           The History and Circumstances of Rayconda

       43.      On April 21, 1995, Plaintiff Rayconda was formed under the laws of the State of

North Carolina by the filing of Articles of Incorporation with the office of the North Carolina

Secretary of State.

       44.      On October 30, 1969, Astor A. Keith granted Rayconda Lakes, Inc. the property

which comprises the upper Rayconda Lake that is the subject of Plaintiff Rayconda’s claims

asserted herein. The subject deed is recorded in Book 2187, Page 513, Cumberland County

Registry.

                       The History and Circumstance of Strickland Bridge

       45.      On February 9, 1989, Plaintiff Strickland Bridge was formed under the laws of

the State of North Carolina by the filing of Articles of Incorporation with the office of the North

Carolina Secretary of State.

       46.      On November 16, 1988, a property developer Core Construction Company

granted Plaintiff Strickland Bridge the lake which comprises the Strickland Bridge Lake that is

the subject of Plaintiff Strickland Bridge’s claims asserted herein. The subject deed is recorded

in Book 3485, Page 715, Cumberland County Registry.

       47.      The City approved the development of the Tarleton Plantation subdivision in

Fayetteville, North Carolina. The development includes a system of streets, gutters and drains to

ostensibly manage the stormwater produced in the Tarleton Plantation. However, the City is

knowingly causing a large portion of the stormwater to from the Tarleton Plantation to dump via

Sumerlin Drive directly into the Strickland Bridge lake with associated silt and debris. The



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excessive amount of stormwater that the City is dumping into the Strickland Bridge Lake caused

the water level to rise significantly over the years leading up to Hurricane Matthew. Moreover,

the silt and debris being dumped from the Tarleton Plantation into the Strickland Bridge lake has

caused the base of the lake to rise significantly over the years leading up to Hurricane Matthew.

        48.     Historically, the City of Fayetteville’s fire department has maintained an access

point on the Strickland Bridge lake whereby the City of Fayetteville’s fire department obtains

water from the lake to supply the fire department and its trucks with water.

                               CLAIMS FOR RELIEF

       49.      The Defendants incorporated and usurped the Plaintiff’s property, converting it to

be a critical part of the City’s stormwater management system. Additionally, the Defendants

have used the Plaintiffs’ property, lakes, and dams to operate and manage the Defendants’

electric, water, and sanitary sewer utility services.

       50.      The Defendants utilized the land and lakes of the Plaintiffs for public use because

such action was advantageous and beneficial to the public. The Defendants usurped the

Plaintiffs’ property through a series of easements provided to the Defendants over the course of

several years for little or no consideration. The easements, when viewed collectively, provided

to the Defendants virtually unfettered use of the Plaintiffs’ property for a public use while also

requiring the Defendants to maintain and manage the easements.

       51.      Over the course of 30 years, the Defendants neglected, ignored, and disregarded

the condition of the easements, failing to maintain, manage, oversee, or upgrade the easements

while the City dumped and stored the City’s stormwater in public use properties. Instead, the

City utilized the Plaintiffs’ private property along with the City’s easements to take the

Plaintiffs’ property for a public use.



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                                FIRST CLAIM FOR RELIEF
                                 Violation of 42 U.S.C. § 1983

       52.      The allegations contained in Paragraphs 1 - 51 of the Complaint are re-alleged

and incorporated herein by reference as if fully set forth herein.

       53.      The Defendants acting under the color of state law deprived Plaintiffs of their

rights secured to them under Article V of the United States Constitution: deprivation of property

without due process of law and taking of private property for public use without just

compensation in violation of 42 U.S.C. § 1983.

       54.      The acts and omissions by the Defendants have been committed under color of

North Carolina law, the local government ordinances, and the government practice of the City of

Fayetteville.

       55.      The acts and omissions by the Defendants have been committed with deliberate

indifference to the Plaintiffs and have caused the Plaintiffs to be deprived of their property rights

in a manner that was foreseeable by the Defendants.

       56.      The Plaintiffs are entitled to a monetary judgment against the Defendants, jointly

and severally, as a result of the acts and omissions by the Defendants.

       57.      The Plaintiffs are further entitled to a judgment against the Defendants, jointly

and severally, for reasonable attorney’s fees under 42 U.S.C. § 1988 as part of the costs incurred

by the Plaintiffs through the prosecution of this action.

                                SECOND CLAIM FOR RELIEF
                                    Breach of Easements

       58.      The allegations contained in Paragraphs 1 – 57 of the Complaint are re-alleged

and incorporated herein by reference as if fully set forth herein.




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       59.      The Defendants are grantors and the Plaintiffs are grantees of the easements

identified above and incorporated herein by reference. When the easements were granted to the

Defendants by the Plaintiffs, the Defendants provided the Plaintiffs with only nominal

consideration in exchange for the easements.

       60.      The Defendants have materially and continually breached the terms and spirit of

the easements by acts and omissions resulting in the Defendants’ failure to maintain, improve,

inspect, repair, or replace when necessary the equipment and other improvements installed in and

on the lands encumbered by the easements.

       61.      The Defendants have utilized the easements excessively and with a lack of regard

for the cumulative impact on stormwater retention across and within the Plaintiffs’ property.

       62.      The Defendants’ material breach of the terms and spirit of the easements entitles

the Plaintiffs to compensatory damages for the damages caused by Defendants’ acts and

omissions.

       63.      Plaintiffs are entitled to and hereby demand compensatory damages in an amount

exceeding $75,000, the exact amount to be determined at trial.

       64.      Alternatively or in conjunction with an award for compensatory damages, the

Plaintiffs are entitled to and hereby request a judgment by the Court ordering that the easements

be terminated or modified to reflect the parties intentions and the scope of the Defendants’ use.

This conduct has rendered the easements and installations thereon to be in decrepit condition and

through their excessive use has caused the failure and destruction of the Plaintiffs’ property,

homes, dams and lakes.




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                              THIRD CLAIM FOR RELIEF
     Inverse Condemnation // North Carolina General Statute §§ 40A – 51 and 40A – 3(b)(4)

       65.      The allegations contained in Paragraphs 1- 64 of the Complaint are re-alleged and

incorporated herein by reference as if fully set forth herein.

       66.      The Defendants have unlawfully appropriated the property of the Plaintiffs for

stormwater drainage. This action has been initiated within twenty four (24) months of the date

of the taking of the affected property. A memorandum of this action is being filed with the

Cumberland County, North Carolina register of deeds in accordance with N.C.G.S. § 40A-51(b).

       67.        The acts and omissions by the Defendants have resulted in a taking and/or

damage of Plaintiffs’ property. This unlawful taking by the Defendants of the Plaintiffs’

property has and continues to negatively impact the Plaintiffs’ property and will continue to

negatively impact the Plaintiffs’ property into the future.

       68.      The Defendants are not permitted to take the Plaintiffs’ property without just

compensation to the Plaintiffs. The Defendants’ acts and omissions resulting in an unlawful

taking has caused damage to the Plaintiffs’ property and has caused the Plaintiffs’ property to

decrease in value.

       69.      The Defendants, through their acts and omissions, failed to prevent foreseeable

damage to the Plaintiffs’ property.

       70.      The Defendants’ failure to compensate the Plaintiffs’ for the damages to their

property or to remedy the unlawful and decrepit stormwater management system has caused the

Plaintiffs, composed of a relatively small percentage of City of Fayetteville residents, to bear the

burden of costs and repairs which is a burden that should fall on the public and funds for public

use as a whole.




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        71.      The acts and omissions by the Defendants have caused the Plaintiffs to suffer

damages to their property and homes.

        72.       Plaintiffs are entitled to compensatory damages for inverse condemnation against

the Defendants in an amount in exceeding $75,000, the exact amount to be determined at trial.

In addition, the Plaintiffs are entitled to a recovery of all reasonable attorney’s fees they have

incurred as a result of this action.

                                FOURTH CLAIM FOR RELIEF
                                       Negligence

        73.      The allegations contained in Paragraphs 1- 72 of the Complaint are realleged and

incorporated herein by reference as if fully set forth herein.

        74.       The Defendants were negligent, reckless, willful, and wanton in one or more of

the following ways:

        a.       In failing to maintain a drainage system and stormwater collection system which

the Defendants installed on the Plaintiffs’ property.

        b.       In failing to upgrade the drainage system and stormwater collection system which

the Defendants installed on the Plaintiffs’ property.

        c.       In failing to inspect the drainage system and stormwater collection system which

the Defendants installed on the Plaintiffs’ property.

        d.       In failing to upgrade the drainage system and stormwater collection system to

accommodate the cumulative impact of increased and inadequately supervised development of

residential and commercial property upstream from the Plaintiffs’ property, channeling water

upstream and into the Plaintiffs’ property.

        e.     In collecting stormwater in various drainage bases onto areas not owned by the

Defendants or on public land and draining the stormwater onto the Plaintiffs’ property knowing


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that the drainage of the stormwater onto the Plaintiffs’ property would cause significant damage

to the Plaintiffs’ property.

        f.       Draining stormwater on the Plaintiffs’ property causing flooding and damage to

the Plaintiffs’ property.

        75.      As a direct and proximate result, the Plaintiffs have suffered damages to their

property, their homes and through the diminution of the value of their property.

        76.      Plaintiffs are entitled to compensatory damages in an amount in exceeding

$75,000, the exact amount to be determined at trial.

                                FIFTH CLAIM FOR RELIEF
                                      Negligence Per Se

        77.      The allegations contained in Paragraphs 1- 76 of the Complaint are realleged and

incorporated herein by reference as if fully set forth herein.

        78.      The City of Fayetteville’s acts and omissions described herein constitute a

violation of North Carolina General Statute § 160A-311, et seq, Section 1, Chapter 12 of the

Cumberland County Code and its own Stormwater Quality Management Program Plan.

        79.      The Defendants’ violation of the subject regulations, ordinances, and state and

federal law have caused damages to the Plaintiffs’ property as described herein.

        80.      Plaintiffs are entitled to compensatory damages in an amount in exceeding

$75,000, the exact amount to be determined at trial.

                                SIXTH CLAIM FOR RELIEF
                                       Nuisance

        81.      The allegations contained in Paragraphs 1-80 of the Complaint are realleged and

incorporated herein by reference as if fully set forth herein.




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       82.      The Defendants through their acts and omissions created a nuisance by utilizing

the Plaintiffs’ property as a public use collection facility for stormwater. The Defendants failed

to consider the cumulative impact of directing excessive stormwater over and into the Plaintiffs’

property instead of adequately managing, directing, and collecting stormwater through public use

measures management.

       83.      The Defendants’ acts and omissions have created a nuisance per se which has

become dangerous and a threat to the Plaintiffs’ life, health, and property.

       84.      The Defendants had no right to neglect the inspection, maintenance, repair, and

replacement of the easements with respect to the scope of the City’s direction and dissemination

of stormwater over and into the Plaintiffs’ property in lieu of directing and disseminating the

stormwater over and into public use facilities and property.

       85.      The Defendants had no right to neglect the City of Fayetteville Stormwater

Management Ordinance and related City of Fayetteville stormwater management plans to the

detriment of the Plaintiffs’ life, health, and property, by directing and disseminating an

unreasonable amount of stormwater over and into the Plaintiffs’ property.

       86.      The Plaintiffs have suffered damages including loss of property, damages to their

property, damages to the improvements on their property, damages to their health, and a

diminution of value to their property.

       87.      Plaintiffs are entitled to compensatory damages in an amount in exceeding

$75,000, the exact amount to be determined at trial.

                               SEVENTH CLAIM FOR RELIEF
                                      Trespass

       88.      The allegations contained in Paragraphs 1 – 87 of the Complaint are realleged and

incorporated herein by reference as if fully set forth herein.


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       89.      The Defendants trespassed on the Plaintiffs’ property without consent. The

Defendants have acted recklessly and without consideration of the ostensible rights afforded to

the Defendants under the easements granted to the Defendants to trespass on the Plaintiffs’

property in breach of the easements.

       90.      The Plaintiffs have been damaged from the cumulative and excessive amounts of

stormwater the Defendants have directed and disseminated over and through the Plaintiffs’

property in lieu of directing the stormwater through dedicated public use mechanisms and

property.

       91.      Plaintiffs are entitled to compensatory damages in an amount in exceeding

$75,000, the exact amount to be determined at trial.

                               EIGHTH CLAIM FOR RELIEF
                               Quantum Meruit/Unjust Enrichment

       92.      The allegations contained in Paragraphs 1 – 91 of the Complaint are realleged and

incorporated herein by reference as if fully set forth herein.

       93.      Defendants have for at least thirty years enjoyed the direct and indirect benefits of

the use of the private property identified herein for public use without compensation to the

owners of the subject property. As a result, Defendants have been unjustly enriched.

       94.      Defendants have further enjoyed the direct and indirect benefits of the easements

referenced herein for public use without compensation to the owners of the property that the

easements encumber. Additionally, Defendants have enjoyed the continuous financial benefit

associated with avoiding the payment of the costs associated with the reasonable inspection,

management, and upgrades to the easements and property owned by the Plaintiffs. As a result,

Defendants have been unjustly enriched.




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        95.      Defendants are thus indebted to Plaintiffs for damages for the amounts necessary

to repair or replace the easements and subject installations made by the Defendants within the

easements, to repair or replace the subject dams and lakes, and Plaintiffs are entitled to recover

those damages from the Defendants.


                                NINTH CLAIM FOR RELIEF
                                     Punitive Damages

        96.      The allegations contained in Paragraphs 1- 95 of the Complaint are realleged and

incorporated herein by reference as if fully set forth herein.

        97.      The Defendants’ conduct, as described herein, was willful, wanton, and malicious

so as to entitle punitive damages against the Defendants, jointly and severally, in favor of

Plaintiffs.

        98.      Plaintiffs are entitled to punitive damages in an amount exceeding $75,000, the

exact amount to be determined at trial.

        WHEREFORE, the Plaintiffs respectfully pray to the Court as follows:

        1.       An order awarding the Plaintiffs a monetary judgment against the Defendants,

jointly and severally, in the amount of damages incurred by Plaintiffs equal to the diminution of

the value of their property without due process of law and without just compensation.

        2.       An order awarding the Plaintiffs a monetary judgment against the Defendants,

jointly and severally, in the amount of damages incurred by the Plaintiff to repair the Plaintiffs’

property, dams, lake areas, and other areas of the property breached and/or damaged by the acts

and omissions of the Defendants.




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       3.      An order which renders the easements to be extinguished or modified to reflect

the Plaintiffs and Defendants intentions under the terms of the easements and/or to reflect the

Defendants duties to under the rights provided to the Defendants under the easements.

       4.      An order awarding the Plaintiffs a monetary judgment against the Defendants,

jointly and severally, pursuant to 42 USC § 1983, as a result of the acts and omissions by the

Defendants

       5.      A judgment in favor of the Plaintiff and against the Defendants, jointly and

severally, in the amount for all reasonable attorney’s fees and costs incurred by the Defendant

through their prosecution of this case based on 42 USC § 1988, and under North Carolina law.

       6.      A judgment against the Defendants, jointly and severally, in favor of the Plaintiffs

under North Carolina General Statute §§ 40A – 51 and 40A – 3(b)(4);

       7.      A judgment against the Defendants, jointly and severally, for punitive damages.

       8.      An order by the Court enjoining the Defendants to create an oversight plan to

manage and maintain the property with respect to the ability to retain stormwater for the

Defendants; and

       9.      Award such other and further relief as the Court deems just and proper.




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Respectfully submitted this the 8th day of June, 2018.

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